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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION AT LEXINGTON


 MODERN HOLDINGS, LLC, GREENLEAF
 PLANT FOOD WHOLESALE, INC, GAY                             Civil Action No. 5: 13-cv-00405-GFVT
 BOWEN, and BOBBIE LEMONS

          Plaintiffs,

 V.

 CORNING INCORPORATED, a New York                           FIRST AMENDED
 Corporation                                                CLASS ACTION COMPLAINT

 AND

 KONINKLIJKE PHILIPS, N.V., a
 Netherlands Corporation

  Serve: Koninklijke Philips, N.V.
         Amstelplein 2
         Breitner Center
         P7 1096 BC Amsterdam
         The Netherlands

 AND

 PHILIPS ELECTRONICS NORTH
 AMERICA CORPORATION, a Delaware
 Corporation

          Defendants.



         Plaintiffs Modern Holdings, LLC (“Modern Holdings”), Greenleaf Plant Food

  Wholesale, Inc. (“Greenleaf”), Bobbie Lemons (“Lemons”), and Gay Bowen (“Bowen”), on

  behalf of themselves and others similarly situated (collectively the “Plaintiffs”), for their First

  Amended Class Action Complaint against Koninklijke Philips, N.V. (“Philips, N.V.”), Philips

  Electronics North America Corporation (“Philips North America”), and Corning Incorporated

  (“Corning”) (collectively “Defendants”), respectfully state as follows:
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  I.     PARTIES, JURISDICTION AND VENUE

         A.      The Parties.

         1.      Plaintiff Modern Holdings, LLC, is a Kentucky Limited Liability Company

  organized and doing business in the Commonwealth of Kentucky that owns property located at

  1200 Lebanon Road, with an office address of 725 Maple Avenue, Danville, Kentucky. Modern

  Holdings brings this action on behalf of itself and similarly situated individuals who have,

  between 1952 and the present date (the “Relevant Time Period”), owned property or resided

  within a five-mile radius of the glass manufacturing facility (the “Facility”) located at 320

  Vaksdahl Avenue (the “Site”) in Danville, Kentucky. The Facility and Site was owned and

  operated by Corning, Inc. between 1952 and 1983, and then Philips North America between

  1983 and 2013. Modern Holdings’ property at 1200 Lebanon Road is located across the street

  from the Facility. Modern Holdings has been damaged by the Defendants’ tortious activities –

  Hazardous Substances from the Facility have migrated onto Modern Holding’s property, and

  have interfered with Modern Holding’s use and enjoyment of the property. Both the presence of

  Hazardous Substances on Modern Holding’s property and the stigma associated with the

  proximity of Modern Holdings’ property to the Facility have decreased the market value of the

  property located at 1200 Lebanon Road.

         2.      Plaintiff Greenleaf Plant Food Wholesale, Inc. (“Greenleaf”), is an incorporated

  entity that owns property at 410 Vaksdahl Drive, Danville, Kentucky. Greenleaf brings this

  action on behalf of itself and similarly situated individuals who have owned property or resided

  within a five-mile radius of the Facility between 1952 and the present day. Greenleaf’s property

  at 410 Vaksdahl Drive is adjacent to the Site. Greenleaf has been damaged by the Defendants’

  tortious activities – Hazardous Substances from the Facility have migrated onto Greenleaf’s

  property, and have interfered with Greenleaf’s use and enjoyment of the property. Both the

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  presence of Hazardous Substances on Greenleaf’s property and the stigma associated with the

  proximity of Greenleaf’s property to the Facility have decreased the market value of the property

  located at 410 Vaksdahl Drive.

          3.      Plaintiff Bobbie Lemons is an individual who has lived in Danville since she was

  a child. Lemons now resides at 117 John W.D. Bowling Ct., Danville, Kentucky. Plaintiff

  Lemons likewise brings this action on behalf of herself and all similarly situated Plaintiffs who

  have owned property or resided within a five-mile radius of the Site between 1952 and 2013.

  Lemons was injured as a result of her exposure to the contamination generated at the Facility –

  she was diagnosed with multiple sclerosis in 2008 at the age of 40. Lemons does not have a

  family history of multiple sclerosis. Multiple sclerosis has been causally scientifically linked

  with one or more of the Hazardous Substances that Defendants wrongfully permitted or caused

  to escape the Site. Lemons did not discover, and could not have discovered by exercise of

  reasonable diligence, that her injuries were caused by the Defendants until less than a year prior

  to the filing of the instant lawsuit.

          4.      Plaintiff Gay Bowen is an individual who resided at 456 Boone Trail, Danville,

  Kentucky, between 1957 and 1983. Bowen now resides at 1440 N. W. Old Mill Dr., Lake City,

  Florida. Plaintiff Bowen likewise brings this action on behalf of herself and all similarly situated

  Plaintiffs who have owned property or resided within a five-mile radius of the Site between 1952

  and 2013. Bowen was injured as a result of her exposure to the contamination generated at the

  Facility – she was diagnosed with Multiple Sclerosis in 1995. Bowen does not have a family

  history of multiple sclerosis. Multiple sclerosis has been causally scientifically linked with one

  or more of the Hazardous Substances that Defendants wrongfully permitted or caused to escape

  the Site. Bowen did not discover, and could not have discovered by exercise of reasonable




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  diligence, that her injuries were caused by the Defendants until less than a year prior to the filing

  of the instant lawsuit.

          5.      Defendant Philips Electronics North America Corporation is a Delaware foreign

  business corporation doing business in the Commonwealth of Kentucky, with its corporate

  headquarters located at 3000 Minute Man Road, Andover, Massachusetts, and which owned and

  operated, through its agents and/or employees, the glass manufacturing facility and site at 320

  Vaksdahl Avenue that is the subject of this lawsuit. Philips North America is a wholly-owned

  subsidiary of Philips, N.V.

          6.      Defendant Philips, N.V. is a corporation duly organized and existing under the

  laws of The Netherlands, with its corporate headquarters located at Amstelplein 2, Breitner

  Center, P7 1096 BC, Amsterdam, The Netherlands. Philips, N.V. is the parent company of

  Philips North America. (Defendant Philips, N.V. is substituted in place of the original named

  Defendant “Royal Philips Electronics, N.V. Koninklijke” f/k/a Koninklijke Philips Electronics,

  N.V.)

          7.      Defendant Corning Incorporated is a corporation duly organized and existing

  under the laws of New York, with its corporate headquarters located at 1 Riverfront Plaza,

  Corning, New York. On information and belief, Corning is now the owner of the Site and the

  Facility and is and has been physically in control of any removal of contaminated materials from

  the Facility or the remediation and removal of soil from the Site.

          B.      Jurisdiction And Venue.

          8.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d)(2);

  § 1332(d)(5)(B), as this is a class action in which (1) plaintiffs are citizens of a state different

  from defendants; (2) the proposed plaintiff class contains at least 100 members in the aggregate;

  and (3) the amount in controversy exceeds five million dollars.

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          9.      Venue is proper in this Court because the acts complained of occurred in this

  district.

  II.     CLASS ACTION ALLEGATIONS PURSUANT TO FRCP 23

          10.     Plaintiffs bring this action on behalf of themselves and all others similarly

  situated, as members of the proposed Plaintiffs’ Class. The Proposed Class is initially defined as

  all persons who between 1952 and 2013 have owned property or resided within a five-mile

  radius of the Site.

          11.     Plaintiffs propose that the class be certified as two subclasses to be defined as

  follows: A.) Individuals or legal entities who have owned property within a five-mile radius of

  the Site between 1952 and 2013 (“Subclass A”); B.) Individuals who have resided within a five-

  mile radius of the Site between 1952 and 2013 (“Subclass B”).

          12.     Subclass A includes Plaintiffs similarly situated to Modern Holdings and

  Greenleaf, who have suffered property damage as a result of the Defendants’ tortious actions.

          13.     Subclass B includes Plaintiffs similarly situated to Bowen and Lemons, who have

  suffered personal injury as a result of the Defendants’ tortious actions.

          14.     Furthermore, and upon information and belief, the Proposed Class includes

  Plaintiffs who have both owned property and resided within a five-mile radius of the Facility

  between 1952 and 2013 and will therefore qualify as members of both Subclasses.

          15.     The Proposed Class is so numerous that joinder of all members is impracticable.

          16.     There are questions of law and fact common to the Proposed Class. These

  common questions include, but are not limited to, the nature, causes and effects, and toxicity of

  the Hazardous Substances to which all Plaintiffs and Plaintiffs’ properties were exposed, all

  factual issues relating to Defendants’ operation of the Facility, including its generation, storage,

  and use of materials, products and Hazardous Substances at the Facility; the migration of

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  Hazardous Substances off-Site ; citations for violations of federal and/or state laws relating to

  pollution that were received by Defendants; the liability of Defendants; common affirmative

  defenses raised by the Defendants; remedies available under Kentucky law and the appropriate

  measure of damages; and questions related to the claim for punitive damages and expenses of

  litigation.

          17.     The claims of each of the representative parties are typical of the claims of the

  Class – all Plaintiffs seek damages resulting from the pollution and toxic substances emitted

  from the Facility by the Defendants, which Defendants tortiously permitted to escape the Site.

  The common proof would show the same unlawful acts by Defendants in the same method

  against the entire class.

          18.     The representative Plaintiffs will fairly and adequately assert and protect the

  interests of the Class because the interests of the class representatives and the unnamed class

  members are exactly the same and no antagonism exists between them. The class representatives

  have been informed of and are willing to participate in this litigation and perform the duties of

  class representatives. Adequate representation is also guaranteed as experienced class counsel

  have undertaken representation of the class representatives and the yet to be certified class.

          19.     This class action provides a fair and efficient method for the adjudication of the

  controversy because common questions of law regarding whether the Defendants committed the

  torts alleged in the operation of the Facility thereby causing property damage and personal injury

  predominate.

          20.     The common questions of law and/or fact predominate over any question

  involving only individual members of the Class.

          21.     The size of the Proposed Class is conducive to class action management. A class

  action would clearly be more manageable than dozens of separate lawsuits or mass joinder of

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  over 100 named Plaintiffs in a single action. The use of experts giving testimony relevant to the

  claims of all class members is far more efficient and manageable than numerous trials for each

  Plaintiff of the proposed class.

          22.     The prosecution of separate civil actions by individual members of the Proposed

  Class would create a risk of varying adjudications with respect to individual members of each

  class which would confront the Defendants with potentially incompatible standards of conduct,

  and which would as a practical matter be dispositive of the interests of other members not parties

  to the adjudications or substantially impair or impede their ability to protect their interests.

          23.     In addition, the cost to hire experts, to conduct discovery, and to present the case

  for trial for an individual Plaintiff would be essentially the same as preparing and presenting the

  case for all class members. The cost of preparation of an individual claim could well exceed the

  potential recovery of actual damages and would be cost prohibitive for individual actions. In

  view of the complexities of the issues and/or the expenses of litigation, the separate claims of

  individual class members are insufficient in amount to support separate claims involving any of

  the same issues, and efficiencies of preparation and presentation on a class-wide basis therefore

  outweigh any interest of class members proceeding on an individual basis.

          24.     Moreover, anyone who wishes to opt out will be given the opportunity to opt out

  of this class action.

          25.     There is no known litigation already commenced by or against the members of the

  Proposed Class involving any of the same issues.

          26.     It is not likely that the amount which may be recovered by the individual class

  members will be so small in relation to the expense and effort of administering the action as not

  to justify a class action.




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           27.   The Defendants have acted or refused to act on grounds generally applicable to

  the class, thereby making final equitable or declaratory relief appropriate with respect to the

  class.

  III.     INTRODUCTION

           28.   This Complaint alleges Counts against Philips, N.V., Philips North America, and

  Corning on behalf of the Plaintiffs as follows: (I) Nuisance; (II) Trespass; (III) Negligence,

  Gross Negligence, and Recklessness; (IV) Strict Liability; (V) Battery; (VI) Fraudulent

  Concealment; (VII) Negligent Misrepresentation; and (VIII) Negligent Infliction of Emotional

  Distress; (IX) Medical Monitoring.

           29.   This action arises from the negligent or intentional contamination of the

  Plaintiffs’ properties and injury to persons with Hazardous Substances. Such substances were

  caused to be released and leave Defendants’ property and enter onto the properties of the

  Plaintiffs, and have contaminated the Plaintiffs’ water, soil, vegetation, air, water, land, and

  dwellings, thereby causing Plaintiffs to suffer personal injury or an increased risk of serious

  latent diseases, damage to their properties and personal finances, interference with their

  exclusive possession of their property, loss of the use and enjoyment of their properties, and

  destruction of their community. Plaintiffs seek an injunction requiring Defendants to promptly

  and completely remove all Hazardous Substances from their properties, and to prevent future

  migration of Hazardous Substances onto their properties. The Plaintiffs also seek damages for

  the diminution in the value of their properties, additional compensatory and punitive damages,

  and the establishment of a Court supervised medical monitoring program.




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  IV.    FACTUAL ALLEGATIONS

         A.      Defendants Utilize And/Or Generate Hazardous Substances At The Facility.

         30.     This controversy relates to a glass and bulb manufacturing facility in Danville,

  Kentucky. Corning constructed and operated the glass manufacturing facility (the “Facility”)

  located at 320 Vaksdahl Avenue (the “Site”) in 1952. Prior to 1952, the property was

  undeveloped.

         31.     Philips North America purchased the Site and Facility in 1983, and operated the

  Facility as a plant for manufacturing, packaging, and shipping of components for parabolic

  aluminized reflector (PAR) lamps. Manufacturing operations by Philips North America

  continued at the Site until early 2011.

         32.     Philips North America owned the Facility and Site until at least April, 2013,

  when, upon information and belief, Philips North America sold portions of the Site, including the

  Facility, back to Corning.

         33.     The Site is approximately 32 acres, roughly rectangular shaped, and is located on

  the southwest side of Danville, Kentucky. The Site consists of an approximately 335,000 square

  foot building with office, manufacturing, and warehouse space. Other structures around the main

  building include a hazardous waste storage building, a general purpose storage building, gas

  cylinder storage building, and a pump house. The Site is surrounded by a chain link fence.

         34.     The property is located in a mixed commercial and industrial area. The closest

  residence is located approximately 1,000 feet to the west. The Site is bounded to the east by a

  rail yard owned by the Cincinnati, New Orleans and Texas Pacific Railway Company (Norfolk

  Southern Corporation), to the west by Vaksdahl Avenue, to the north by Sellers Engineering, and

  to the south by Greenleaf Plant Food Wholesale, Inc.




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       35.     The Facility opened in 1952, and was operated by Corning as a glass plant, which

included diode glass production. Trichloroethylene (TCE) was used in the diode glass

production process until 1977. The diode glass manufacturing operation was moved to another

Corning plant in 1983, prior to Philips North America’s acquisition of the Site in 1983.

       36.     Since 1983, Philips North America operated the Site as a glass manufacturing

facility that mixed and melted various basic raw materials to form blown and drawn glass

products for the lighting industry. The materials were mixed in a specialized portion of the

Facility called “the Mix House.”

       37.     Three basic types of glass were produced: a soda-lime glass which was drawn into

tubing or blown into various types and sizes of glass envelopes for light bulbs; an alkali-lead

glass which was drawn into tubing for other glass components used in the lighting industry; and

borosilicate glass for manufacturing pressed glass components (reflectors and lenses) for the

subsequent assembly into sealed-beam type lighting products. Philips North America

discontinued the bulb acid etching operation around 1999. Fluorescent tubing and incandescent

bulb production ceased in 2005 and 2008, respectively, and the borosilicate hard glass furnace

and its pressing operation were the only ongoing operations at the time the plant operations

ceased in early 2011.

       38.     There are currently three settling ponds at the Site. Wastewaters resulting from

contact cooling of hot lead glass, precipitation runoff from glass cullet storage piles, and a small

volume of rinse water from electroplating operations were discharged into a surface

impoundment on the eastern side of the Site.

       39.     Since 1952, Defendants’ Facility has generated hazardous and other solid wastes

within and around the facility itself. These Hazardous Substances negatively impacted the health

and well-being of not only the workers at the Facility but also of non-employee Danville

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residents. During its peak operation, there were approximately 400 employees working full time

on the Site.

       40.     Hazardous Substances used during their manufacturing process, which were

spread throughout the Site and throughout Danville by virtue of the Defendants’ negligent and/or

intentional actions, including but not limited to asbestos, mercury, antimony, arsenic, beryllium,

cadmium, chromium, lead, tin, zinc oxide and other heavy metals, thallium, percholoroethene

(PCE), 1, 1, 1-Trichloroethane (TCA), methylene chloride, PCB compounds, benzene, toluene,

vanadium, benzo(b)flouranthene, benzo(a)pyrene, ethylbenzene, silica, and chlorinated

fluorocarbons (CFC), 2-Butanone (MEK), trichloroethylene, and ethanolamine.

       41.     Established human toxicological effects associated with just a few of the

Hazardous Substances include the following: lung cancer, chronic obstructive pulmonary

disease, nose and throat bleeds, nervous conditions, bladder cancer, leukemia, esophageal cancer,

pancreatic cancer, renal cancer, brain cancer, liver cancer, Hodgkin’s Lymphoma, multiple

myeloma, prostate cancer, renal damage/failure; peripheral neuropathy; Multiple Sclerosis;

painful bone disorders, cardiovascular disease and hypertension; cognitive defects; personality

changes; memory deficits; peripheral neurotoxicity; and damage to the central nervous system.

Unfortunately, this list is not exhaustive.

       B.      Defendants Corning, Philips North America, And Philips, N.V. Intentionally
               Or Recklessly Caused The Pollution Of Surrounding Properties.       ______

       42.     Defendants illegally, recklessly or negligently dumped Hazardous Substances

onto properties outside the boundaries of the Site.

       43.     These properties include but are not limited to property owned by Sellers

Engineering Company, and the Cincinnati Railroad adjacent to the north, east, and south of the

property.



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       44.     The Defendants also dumped Hazardous Substances onto fields that were later

leased by Defendants to the City of Danville for proposed use as playgrounds and sports fields

by children. Upon information and belief the City of Danville was informed by Corning that the

leased property was free of Hazardous Substances. The dumping by Defendants was done

without proper authorization or permits. Furthermore, in providing the properties containing

some of the dump sites in question to the City of Danville, Defendants affirmatively

misrepresented and/or failed to disclose the nature of the substances being dumped and the health

risks associated with utilizing the properties in question and/or failed in their duty to inform the

City or the community at large regarding same. Defendants likewise affirmatively

misrepresented and/or failed in their duty to disclose the inherent dangers associated with the

Hazardous Substances that had been dumped onto the properties by Defendants – all to the

detriment of the Plaintiffs who reside in or around these dump sites or have utilized the City

facilities subsequently located thereon and have been adversely affected thereby.

       45.     Defendants also used property owned by the City of Danville located near Clarks

Run to dump Hazardous Substances despite knowing that there was, at minimum, a substantial

likelihood that these Hazardous Substances would pollute Clarks Run and contaminate other

properties in the community.

       46.     Upon information and belief, Defendants also illegally dumped Hazardous

Substances at various additional sites throughout Danville that are now owned by Plaintiffs and

used for commercial or residential purposes. Whether or not this dumping was done with the

permission of the property owners, the dumping by Defendants was done without proper

authorization or permits. Furthermore, Defendants affirmatively misrepresented and/or failed to

disclose to the City, the owners of the properties upon which the Hazardous Substances were

dumped, or the community at large the nature of the substances being dumped or the health risks

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associated with dumping the Hazardous Substances in question, all to the detriment of the

Plaintiffs who reside in or around these dump sites and have been adversely affected thereby.

        47.      Upon information and belief, to the extent the dumping in question was done with

the permission of property owners who are Plaintiffs in this litigation, Plaintiffs would not have

permitted Defendants to dump the Hazardous Substances in question had the nature of the

materials or the adverse health effects associated with the Hazardous Substances been disclosed

to Plaintiffs.

        48.      Defendants furthermore routinely either negligently or intentionally allowed

Hazardous Substances, including arsenic and lead, to be expelled from the Facility and the Site

into the air in violation of state and federal law.

        49.      Lead expelled into the air by Defendants did enter and settle upon the property of

Plaintiffs, and did cause damage to Plaintiffs’ properties.

        50.      Defendants furthermore routinely either negligently or intentionally allowed

Hazardous Substances, including arsenic and lead, to be expelled from the Facility and the Site

into the Clarks Run Watershed, which runs parallel to the Site and throughout Danville, without

proper permits and in violation of state and federal law.

        51.      The settling ponds on the Site were not properly maintained, and regularly

overflowed when it rained, with the overflow running directly into the Clarks Run Watershed.

        52.      Defendants have also knowingly or recklessly caused the lead dust and other

Hazardous Substances throughout the Site and on the roof of the Facility to wash into the Clarks

Run Watershed, thereby polluting an area of at least five miles in each direction radiating from

the Site.

        53.      The Clarks Run Watershed flows through Danville and empties into Herrington

Lake, the source of drinking water for many thousands of people in the region. The groundwater

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pollution caused by the Defendants has impacted at least those residents and property owners

within a five-mile radius of the Facility.

       54.     In addition, this contamination has injured Plaintiffs to the extent that they have

ingested water taken from the Clarks Run Watershed, creeks, or tributaries or have harvested and

ingested vegetation growing in or around these areas.

       55.     Defendants were aware that Hazardous Substances could migrate from the Site

and spread into surrounding properties. This is at least partially demonstrated by the fact that

Corning and Philips floor workers were routinely assigned the task of walking the Clarks Run

Watershed to check for dead animals.

       56.     Defendants have knowingly or recklessly caused contamination in the soil on the

Site to migrate through the soil and contaminate the soil and groundwater in surrounding

properties at least within a five-mile radius of the Site.

       57.     Defendants have knowingly or recklessly caused Hazardous Substances to spread

from the Facility under and onto the Plaintiffs’ properties.

       58.     Defendants knew or should have known that the Hazardous Substances from the

Facility continued to migrate onto the surrounding Plaintiffs’ properties in an uncontrolled

manner.

       59.     Defendants have been utilizing the Plaintiffs’ properties as de facto storage and

disposal facilities without the permission of the Plaintiffs.

       60.     These de facto storage and disposal facilities lack suitable siting and the extensive

safeguards that are required of a permitted facility containing the nature and volume of

Hazardous Substances released by all Defendants.

       61.     Philips, N.V., the parent company of Philips North America, regularly

communicated with Philips North America, and was aware of the extensive off-Site pollution, as

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well as the danger this pollution posed to surrounding properties and individuals residing near

the Site. Philips, N.V. had an independent duty to protect the Plaintiffs and to prevent

contamination, pollution, bodily harm, and property damage, yet failed to fulfill this duty.

       62.     Because of the action of each Defendant, the Plaintiffs currently suffer or are

reasonably certain to suffer serious, severe, and permanent emotional and physical injuries

including, but not limited to, cancer, autoimmune problems, respiratory problems, dermatitis,

central nervous system problems and other severe medical ailments for which medical attention

has been or will be required.

       63.     Because of the actions of each Defendant, the Plaintiffs have suffered damages as

a result of toxic exposure. The Plaintiffs are entitled to compensation for current and past

illnesses, for past and future medical and hospital expenses, for past and future lost wages and

employment benefits, for the increased risk of illness, for medical monitoring, for diminution in

quality of life, for infliction of emotional distress, and for all other allowed compensation

according to proof.

       64.     In addition, the contamination of the Plaintiffs’ properties at the hands of all

Defendants has resulted in significant damage to the value of the properties, which has

economically harmed the Plaintiffs. The diminution in the value of Plaintiffs’ properties will be

established at trial by expert evidence, and arises from not only the actual contamination of

Plaintiffs’ Properties by Hazardous Substances originating from the Site, but also from the

stigma associated with being located in the vicinity of the Site.

       65.     Because of the Defendants’ concealment and evasive actions, certain Plaintiffs’

decedents suffered wrongful death. These Plaintiffs or their estates must be compensated for

their sorrow, mental anguish, expenses, and the pain and suffering of their loved ones.




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          66.   Because of the Defendants’ actions, remaining Plaintiffs are reasonably likely to

develop physical injuries in the future and, as such, those Plaintiffs require special medical

monitoring.

          67.   Throughout the Relevant Time Period, in an effort to limit their liability and their

expenses associated with proper containment of the Hazardous Substances, the Defendants have

knowingly permitted discharges of Hazardous Substances off-site, through outfalls or discharges

into the air, in violation of Local, State, and Federal regulations and without the proper permits.

          68.   Defendants discharged multiple Hazardous Substances for which they held no

discharge permit. With respect to other Hazardous Substances, Defendants exceeded emissions

limits.

          69.   Defendants engaged in a conspiracy and concerted course of action to perpetrate

a fraud on the public by failing to disclose these illegal discharges of Hazardous Substances

despite having a duty to do so.

          70.   Because of these efforts, the local, state and federal agencies responsible for

monitoring the Defendants’ conduct have not had full and complete knowledge regarding the

Defendants’ operations or the nature or extent of the Hazardous Substances that have migrated

off-Site.

          71.   To the extent that local, federal, and state agencies became aware of some of the

Defendants’ illegal actions, Defendants have received numerous citations for knowing violations

of federal and state regulations.

          72.   The Defendants engaged in a further conspiracy and concerted course of action to

perpetrate a fraud upon the public by paying for or “funding” illegitimate or incomplete “studies”

and making material misrepresentations regarding the character of their operations, their




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remediation efforts, and of the risks posed to human health as a result of exposure to the

Hazardous Substances.

       73.     Defendants have therefore misled the public by fraudulently, negligently, and/or

knowingly suppressing the true nature and extent of the Hazardous Substances that have

migrated off the Site, all at the expense of the health and well-being of the Plaintiffs.

       74.     Defendants knew or should have known of the hazards, never informed the

Plaintiffs that their health and their very lives were at risk, and never instructed the Plaintiffs on

how to avoid the risks to their health.

       75.     Defendants violated commonly accepted and well-known safety standards within

their industry by allowing and continuing such improper disposal of Hazardous Substances.

Further, disposal methods were violations of specific environmental statutes, although not cited.

       76.     The Plaintiffs neither knew nor had reason to suspect that they and their

properties had been exposed to such Hazardous Substances as a result of Defendants’ conduct.

In fact, while studies have recently been conducted establishing significant off-Site pollution, the

extent of the off-Site pollution remains unknown.

       77.     Because of each of the Defendants’ actions, Plaintiffs who represent decedent

property owners or residents discovered less than one year prior to the filing of this Complaint

the connection between the deaths of the decedents and the Defendants’ negligent or intentional

actions. Even with the exercise of reasonable diligence, Plaintiffs could not have discovered the

connection between the death of their decedents and Defendants’ negligent or deliberate actions

until less than one year prior to the filing of this Complaint.

       78.     Because of the Defendants’ concealment and misrepresentation, the Plaintiffs

discovered less than one year prior to the filing of this Complaint that they have been exposed to

Hazardous Substances, pollutants, and contaminants and that their exposure to these Hazardous

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Substances had caused personal injury to them and their properties. Even with the exercise of

reasonable diligence, the Plaintiffs could not have discovered more than one year prior to the

filing of this Complaint both the existence of the aforementioned injuries and damages, and their

connection to Defendants’ negligent or deliberate actions.

       79.     Defendants have shown a reckless indifference to the impact of their grossly

negligent and/or reckless behavior on the Danville community and the Plaintiffs. Defendants

have engaged in grossly negligent and/or reckless, oppressive and fraudulent behavior over the

course of many years.

       C.      The Defendants’ Tortious Actions Have Continued Up Through The Present
               Date And Are In Fact Continuing.____________________________________

       80.     As previously alleged, manufacturing operations at the Facility ceased in 2011.

       81.     Subsequent testing performed off-Site along the Clarks Run Watershed has

established that significant concentrations of Hazardous Substances, including lead and arsenic

have in fact migrated off-Site onto adjacent properties, and into the Clarks Run Watershed.

       82.     For instance, sampling was recently conducted to detect lead concentrations

above the industrially acceptable soil RSL of 800 mg/kg. A majority of the off-Site sampling

locations, including those significantly far removed from the Site down the Clarks Run

Watershed, returned concentrations significantly above this level, ranging from 1000 mg/kg to an

astounding 160,000 mg/kg.

       83.     Similarly, sampling was recently conducted to detect arsenic concentrations above

the acceptable screening level of 22.7 mg/kg. A majority of the off-Site sampling locations,

including those significantly far removed from the Site down the Clarks Run Watershed,

returned concentrations significantly above this level, ranging from 27 mg/kg to an astounding

180 mg/kg.



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       84.     Recent review of these test results by the Commonwealth of Kentucky has led the

Kentucky Department for Environmental Protection (“KDEP”) to note that the detected levels of

lead (as much as 160,000 mg/kg) off-Site in the downstream drainage represents an uncontrolled

hazard to human health and the environment. Philips has been directed by the KEDP to

immediately begin interim measures to mitigate the release in the creek.

       85.     The KEDP has stated that the extent of the lead and arsenic in the Clarks Run

Watershed is not yet defined, and is seeking to gain access to downstream property to continue

defining the extent of the contamination. The KEDP has proposed that the sampling be extended

to include additional samples from Clarks Run down to the 4th Street Bridge, approximately one

mile away from the Site.

       86.     The KEDP has also stated that additional investigation into surface contamination

of off-Site properties caused by Defendants is necessary due to high concentration of lead on

nearby properties.

       87.     As the recent KEDP investigation results demonstrate, the extent to which

Defendants’ activities have resulted in contamination of off-Site properties is still unknown, and

is both ongoing and at levels that are hazardous to human health.

                                             COUNT I

                                             (Nuisance)

       88.     Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully stated herein.

       89.     In the operation of the Facility, all Defendants utilized and generated Hazardous

Substances, including but not limited to asbestos, mercury, arsenic, beryllium, cadmium,

chromium, lead, tin, zinc oxide and other heavy metals, thallium, percholoroethene (PCE), 1, 1,

1-Trichloroethane (TCA), methylene chloride, PCB compounds, benzene, toluene, vanadium,

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benzo(b)flouranthene, benzo(a)pyrene, ethylbenzene, and chlorinated fluorocarbons (CFC),

2-Butanone (MEK), silica, and ethanolamine (the “Hazardous Substances”).

       90.     In the operation of its facility, all Defendants discharged fallout, odors, chemicals,

and Hazardous Substances into the air and groundwater, and thereby into the Plaintiffs’

neighborhoods, encompassing those properties falling within at least a five-mile radius. These

Hazardous Substances are invasive and have caused and continue to cause damage to Plaintiffs’

who own property within this radius.

       91.     The nuisance described, supra, is ongoing, the full extent of which is yet

unknown.

       92.     All Defendants had a duty to prevent the discharge of Hazardous Substances onto

the Plaintiffs’ properties, and to prevent the Hazardous Substances from escaping from the Site

onto the Plaintiffs’ property.

       93.     A condition or activity that unreasonably interferes with the use of property is a

nuisance.

       94.     Plaintiffs did not consent for the Hazardous Substances to physically invade their

personal and real property.

       95.     By causing Hazardous Substances accumulated and controlled by Defendants to

physically invade the Plaintiff’s personal and real property, all Defendants substantially and

unreasonably interfered with the Plaintiffs’ use and enjoyment of their property.

       96.     Plaintiffs who own property within a five-mile radius of the Site, including but

not limited to Modern Holdings and Greenleaf, have been damaged as a result of Defendants’

tortious conduct in that the fair market value of their properties has been materially reduced.

       97.     Upon information and belief, the Hazardous Substances emitted by Defendants

have contaminated Plaintiff Modern Holdings and Greenleaf’s properties in more than a minute

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quantity, the extent of which is presently unknown, thereby causing a material reduction in the

value of the Plaintiffs’ properties.

        98.     Plaintiffs Modern Holdings and Greenleaf are furthermore harmed by the

contamination that has invaded their properties as a result of the Defendants’ tortious activities

because such contamination exposes Plaintiffs to potential legal and environmental liabilities.

        99.     Finally, the Defendants’ tortious activities in permitting Hazardous Substances to

migrate off-Site and contaminate surrounding properties has damaged Plaintiffs Modern

Holdings and Greenleaf in that the value of their properties has suffered from the stigma of being

closely situated to the Site.

        100.    The Defendants’ tortious activities have furthermore interfered with the Plaintiffs’

use and enjoyment of their properties, because the presence of contamination and Hazardous

Substances on these properties has and will continue to impair the ability of Plaintiffs Modern

Holdings and Greenleaf to dispose of their properties through sale or lease, or to otherwise utilize

their properties for the purposes for which they are best suited.

        101.    Defendants’ substantial and unreasonable interference with Plaintiffs’ use and

enjoyment of their property constitutes a nuisance for which all Defendants are liable to

Plaintiffs for all damages arising from such nuisance, including compensatory and exemplary

relief. Each of the Plaintiffs is entitled to recover damages for the following, including but not

limited to: the loss of use and enjoyment of property; the loss of use of the groundwater; the

diminution of the value of property; damages arising from the stigma of being closely situated to

the Site, restoration costs; consequential and incidental damages; disgorgement of profits

realized; unjust enrichment; and punitive damages.




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                                             COUNT II

                                             (Trespass)

       102.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully stated herein.

       103.    All Defendants engaged in extra-hazardous activities in permitting Hazardous

Substances to escape the Site and pollute surrounding properties.

       104.    All Defendants intentionally, recklessly, willfully, wantonly, maliciously, and

negligently failed to properly construct, maintain, and/or operate the Facility, which caused the

invasion and damage of Plaintiffs’ personal and real property by particulates, air contaminants,

and other Hazardous Substances on dates too numerous to mention.

       105.    The trespass described, supra, is ongoing, the full extent of which is yet unknown.

       106.      As a direct and proximate result of the foregoing conduct of all Defendants,

Hazardous Substances accumulated upon, entered upon, settled upon, seeped onto, and otherwise

physically invaded the Plaintiffs’ personal and real property.

       107.    It was reasonably foreseeable that all Defendants’ failure to properly construct,

maintain, and/or operate the facility could result in an invasion of Plaintiffs’ possessory interests

through the emissions of Hazardous Substances.

       108.    The Hazardous Substances that entered, settled, physically invaded, and damaged

Plaintiffs’ personal and real property interfered with and continue to damage the Plaintiffs’

interests in the exclusive possession of the Plaintiffs’ land and property and constitute a

continuous trespass upon the Plaintiffs’ property.

       109.    Plaintiffs did not consent for the Hazardous Substances to physically invade their

land and property.




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       110.    The Hazardous Substances that Defendants have caused to invade Plaintiffs’

properties have in fact contaminated the subject properties owned by Modern Holdings,

Greenleaf, and other members of the Proposed Class to the extent that the levels of Hazardous

Substances pose a hazard to human health.

       111.    The Hazardous Substances that have invaded the properties of Plaintiffs,

including Modern Holdings and Greenleaf, have harmed the properties in that the contamination

has and will continue to impair the ability of Plaintiffs Modern Holdings and Greenleaf to

dispose of their properties through sale or lease, or to otherwise utilize their properties for the

purposes for which they are best suited.

       112.    Upon information and belief, the Hazardous Substances emitted by Defendants

have contaminated the properties of Plaintiffs, including Modern Holdings and Greenleaf, in

more than a minute quantity, the extent of which is presently unknown, thereby causing a

material reduction in the value of the Plaintiffs’ properties.

       113.    Plaintiffs Modern Holdings and Greenleaf are furthermore harmed by the

contamination that has invaded their properties as a result of the Defendants’ tortious activities

because such contamination exposes Plaintiffs to potential legal and environmental liabilities.

       114.    Finally, the Defendants’ tortious activities in permitting Hazardous Substances to

migrate off-Site and contaminate surrounding properties has damaged Plaintiffs, including

Modern Holdings and Greenleaf, in that the value of their properties has suffered from the stigma

of being closely situated to the Site.

       115.    As a further direct and proximate result of the foregoing conduct of all

Defendants, Plaintiffs suffered substantial damages to their personal and real property as alleged

herein. Each of the Plaintiffs is entitled to recover damages for the following, including but not

limited to: the loss of use and enjoyment of property; the loss of use of the groundwater; the

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diminution of the value of property; restoration costs; consequential and incidental damages;

disgorgement of profits realized; and unjust enrichment; and punitive damages.

        116.    By reason of all Defendants’ trespass on the Plaintiffs’ properties, the Plaintiffs

are entitled to injunctive relief requiring the Defendants to promptly and completely remove all

Hazardous Substances from the Plaintiffs’ land, and prevent the future migration of Hazardous

Substances onto the Plaintiffs’ land.

        117.    All Defendants’ actions, which resulted in the trespass upon the Plaintiffs’ land

and property were, and continue to be, intentional, willful, and malicious and made with a

conscious disregard for the rights and safety of the Plaintiffs, entitling the Plaintiffs to

compensatory, exemplary, injunctive, and punitive relief.

                                             COUNT III

                        (Negligence, Gross Negligence And Recklessness)

        118.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully stated herein.

        119.    In constructing, maintaining, operating, controlling, engineering and/or designing

the Facility, all Defendants had a duty to exercise ordinary care and diligence so that Hazardous

Substances did not invade the Plaintiffs’ personal and real property.

        120.    All Defendants knowingly or recklessly breached their duty to exercise ordinary

care and diligence when they improperly constructed, maintained, operated, engineered, and/or

designed the Facility and knew, or should have known, that such actions would cause Plaintiffs’

personal and real property to be invaded by Hazardous Substances.

        121.    As a direct and proximate result of the failure of all Defendants to exercise

ordinary care, thereby causing contamination of the Plaintiffs’ properties in amounts that are

hazardous to human health and which interfere with the Plaintiffs’ use and enjoyment of the

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property, Plaintiffs owning property within a five-mile radius of the Facility between 1952 and

the present date, including Plaintiffs Modern Holdings and Greenleaf, have been damaged and

are entitled to recover damages arising from the loss of use and enjoyment of property; the loss

of use of the groundwater; the diminution of the value of property; restoration costs;

consequential and incidental damages.

       122.     As a direct and proximate result of all Defendants’ failure to exercise ordinary

care, Plaintiffs residing within a five-mile radius of the Facility between 1952 and the present

date, including Plaintiffs Bowen and Lemons, have suffered personal injury, wrongful death,

injury arising from an increased risk of personal injury and sickness in the future, mental

anguish, suffering, anxiety, embarrassment, humiliation, distress, agony, and other related

nervous conditions and emotional trauma.

       123.     Multiple sclerosis is a disease that has been causally scientifically connected to

exposure to one or more of the Hazardous Substances generated and tortiously dispersed by

Defendants, including but not limited to arsenic and lead. As a result of Defendants’ tortious

actions, Plaintiffs Bowen and Lemons have been exposed to these Hazardous Substances in

excessive amounts and on multiple occasions. Upon information and belief, the multiple

sclerosis suffered by Plaintiffs Bowen and Lemons is directly attributable to the conduct of

Defendants in negligently, intentionally, and/or recklessly causing them to be exposed to

Hazardous Substances.

       124.     The conduct of all Defendants in knowingly allowing conditions to exist that

caused or permitted the Hazardous Substances to physically invade the Plaintiffs’ personal and

real property, constitutes gross negligence, as Defendants’ conduct demonstrates a substantial

lack of concern for whether an injury resulted to the Plaintiffs, and at least constitutes

recklessness.

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       125.    All Defendants are vicariously liable for the negligence and/or gross negligence

of their officers, employees, representatives, and agents, who, during the course and scope of

their employment, allowed or failed to correct the problem which caused Hazardous Substances

to physically invade the Plaintiffs’ personal and real property.

       126.    Defendants’ recklessness entitles Plaintiffs to an award of punitive damages,

because their conduct was in willful disregard for Plaintiffs and constitutes outrageous conduct.

                                             COUNT IV

                                         (Strict Liability)

       127.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully stated herein.

       128.    All Defendants, as the owner/operators of the Facility, engaged in abnormally

dangerous activities in the manner in which they used, stored, treated and disposed of Hazardous

Substances at the Facility, which permitted Hazardous Substances to migrate off-Site, thereby

subjecting Plaintiffs’ persons and properties to contamination by such Hazardous Substances.

       129.    Defendants’ activities in permitting Hazardous Substances to migrate off-Site

created a high degree of risk of harm to others, and particularly to the Plaintiffs, whose persons

and property have been adversely affected by the migrating contamination; created a risk

involving a likelihood that the harm threatened by the Defendants’ activities would be great;

created a risk of harm that could not be eliminated by reasonable care.

       130.    Defendants’ activities in permitting Hazardous Substances to migrate off-Site

were not activities of common usage; and were inappropriate to the place that they were being

carried on, in that they constituted a non-natural use of Defendants’ land which imposed an

unusual and extraordinary risk of harm to Plaintiffs’ properties and persons, as well as to other

property in the vicinity.

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       131.    The risks posed by the Defendants’ activities in permitting Hazardous Substances

to migrate off-Site created are such as give rise to an absolute duty on the part of Defendants to

make their conduct safe for the Plaintiffs and others affected by their activities.

       132.    The harm sustained by the Plaintiffs is exactly the kind of harm posed by the

Defendants’ conduct in permitting Hazardous Substances generated and stored at the Facility to

escape, leak and seep on, under and around the Plaintiffs’ properties, the possibility of which

made Defendants’ activities abnormally dangerous.

       133.    By reason of the Defendants’ conduct, the Plaintiffs are entitled to recover for

damages to their real and personal property, personal injury, wrongful death, injury arising from

an increased risk of personal injury and sickness in the future, mental anguish, suffering, anxiety,

embarrassment, humiliation, distress, agony, and other related nervous conditions and emotional

trauma.

       134.    All Defendants’ recklessness entitles Plaintiffs to an award of punitive damages,

because such conduct was in willful disregard for Plaintiffs’ rights and safety and constitutes

outrageous conduct.

                                               COUNT V

                                               (Battery)

       135.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully restated herein.

       136.    All Defendants acted with knowledge that they were illegally and tortiously

permitting Hazardous Substances generated and stored at the Facility to escape, leak and seep on,

under and around the Plaintiffs’ properties, and furthermore acted with the knowledge that such

activities were substantially likely and were in fact causing personal injury to persons, including

Plaintiffs Bowen and Lemons, were touched by or exposed to such Hazardous Substances.

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       137.    The Defendants actions in intentionally allowing the discharge of Hazardous

Substances off-Site, intentionally and willfully caused a direct, harmful and/or offensive contact

with the Plaintiffs and thereby committed battery upon such Plaintiffs. Separate and apart from

acting negligently or with gross negligence, at all relevant times, the Defendants caused personal

injury to the Plaintiffs, and/or an increased risk of serious latent disease and damages, through

acts and omissions accompanied by malice and/or accompanied by a wanton, reckless, and

willful disregard of persons who foreseeably might be harmed by such acts or omissions.

       138.    As a direct and proximate result of Defendants’ misconduct as set forth herein, the

Plaintiffs have suffered and continue to suffer personal injury, wrongful death, injury arising

from an enhanced risk of serious future latent disease, economic losses, the loss of value to their

property, the loss of use and enjoyment of their property, and the need for the establishment of a

medical monitoring program for those exposed to the Hazardous Substances.

                                             COUNT VI

                                   (Fraudulent Concealment)

       139.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully stated herein.

       140.    Defendants had, and continue to have, a duty to disclose to local, state and federal

authorities, and to Plaintiffs, the nature and extent of Hazardous Substances generated by the

Facility which have either migrated off-Site, or been intentionally dumped off-Site by

Defendants.

       141.     As set forth in detail in Section IV, supra, during the Relevant Time Period, all

Defendants intentionally concealed and failed to disclose to the Plaintiffs, and to the public

authorities and/or agencies, material facts concerning the nature, extent, magnitude, and effects

of the exposure of the Plaintiffs and their properties to the Hazardous Substances emitted,

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released, stored, handled, generated, processed and/or disposed of in and around the Facility and

the surrounding environment.

       142.    Defendants continue to intentionally conceal and fail to disclose to the Plaintiffs,

and to the public authorities and/or agencies, material facts concerning the nature, extent,

magnitude, and effects of the exposure of Plaintiffs and their properties to the Hazardous

Substances emitted, released, stored, handled, generated, processed and/or disposed of in and

around the Facility and the surrounding environment.

       143.    All Defendants intentionally concealed such material information. Defendants

knew or should have known that the Plaintiffs and their properties would be exposed to the

Hazardous Substances.

       144.    All Defendants knew that their concealment of such information would subject

and continue to subject the Plaintiffs to continued exposure to the Hazardous Substances

indefinitely, up to and including today.

       145.    If the Plaintiffs, who were residents of and/or owned property in Danville,

Kentucky, had known of the material information intentionally concealed by Defendants, the

Plaintiffs would not have consented to being exposed to the Hazardous Substances and would

not have continued to reside or own property within the affected area.

       146.    Plaintiffs reasonably believed that the groundwater, air, soil, and natural resources

in and around the Facility and their surrounding community did not pose any potential health

hazard, and thus reasonably relied upon such belief in continuing to reside or own property

within the affected area, thereby sustaining injuries.

       147.    Plaintiffs reasonably believed that the groundwater, air, soil, and natural resources

in and around the Facility and their surrounding community did not pose any potential health




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hazard, and thus reasonably relied upon such belief in refraining, until the filing of this suit, from

seeking redress or taking precautions.

        148.    Separate and apart from acting negligently or with gross negligence, at all times,

the Defendants caused serious personal injury, property damage and/or an increased risk of

serious latent disease to the Plaintiffs through acts and omissions actuated by malice and/or

accompanied by a wanton, reckless and willful disregard for the persons who might foreseeably

be harmed by such acts or omissions.

        149.    As a direct and proximate result of Defendants’ misconduct as set forth herein,

Plaintiffs have suffered and continue to suffer personal injury, injury arising from an enhanced

risk of serious future latent disease, economic losses, the loss of value to their property, the loss

of use and enjoyment of their property, and the need for the establishment of a medical

monitoring program for those exposed to the Hazardous Substances.

                                             COUNT VII

                                   (Negligent Misrepresentation)

        150.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully stated herein.

        151.    Defendants had, and continue to have, statutory and common law duties to

disclose to local, state and federal authorities, and to Plaintiffs, the nature and extent of

Hazardous Substances generated by the Facility which have either migrated off-Site, or been

intentionally dumped off-Site by Defendants.

        152.    All Defendants through misrepresentations, mislead Plaintiffs, public authorities

and/or agencies, regarding the nature, extent, magnitude, and effects of the exposure of the

Plaintiffs and their properties to the Hazardous Substances emitted, released, stored, handled,




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generated, processed and/or disposed of in and around the Facility and the surrounding

environment.

       153.    All Defendants continue to negligently misrepresent material facts concerning the

nature, extent, magnitude, and effects of the exposure of Plaintiffs and their properties to the

Hazardous Substances emitted, released, stored, handled, generated, processed and/or disposed

of in and around the Facility and the surrounding environment.

       154.    All Defendants misrepresented such material information. Defendants knew or

should have known that the Plaintiffs and their properties would be exposed to the Hazardous

Substances.

       155.    All Defendants knew that their misrepresentation of such information would

subject and continue to subject the Plaintiffs to continued exposure to the Hazardous Substances

indefinitely, up to and including today.

       156.    If the Plaintiffs, who were residents of and/or owned property in Danville,

Kentucky, had known of the material information misrepresented by Defendants, the Plaintiffs

would not have consented to being exposed to the Hazardous Substances and would have either

taken necessary precautions to protect themselves and their property, or would not have

continued to reside or own property within the affected area.

       157.    Plaintiffs reasonably believed that the groundwater, air, soil, and natural resources

in and around the Facility and their surrounding community did not pose any potential health

hazard, and thus reasonably relied upon such belief in continuing to reside or own property

within the affected area, and/or refraining to take necessary precautions to protect themselves

and their property, thereby sustaining injuries.

       158.    Plaintiffs reasonably believed that the groundwater, air, soil, and natural resources

in and around the Facility and their surrounding community did not pose any potential health

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hazard, and thus reasonably relied upon such belief in refraining, until the filing of this suit, from

seeking redress or taking precautions.

       159.    As a direct and proximate result of Defendants’ misconduct as set forth herein, the

Plaintiffs have suffered and continue to suffer personal injury, injury arising from an enhanced

risk of serious future latent disease, economic losses, and loss of value to their property, the loss

of use and enjoyment of their property, and the need for the establishment of a medical

monitoring program for those exposed to the Hazardous Substances.

                                           COUNT VIII

                          (Negligent Infliction Of Emotional Distress)


       160.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully restated herein.

       161.    The Defendants failed to act with reasonable care by failing to adequately or fully

warn Plaintiffs Bowen and Lemons or others of their exposure to or the risks associated with

exposure to various Hazardous Substances. Such conduct placed the Plaintiffs, their unborn

children, and members of their households at a significantly increased risk of developing

physical injuries and health related problems in the future.

       162.    By failing to warn the Plaintiffs or others, despite subjectively realizing the

specific unsafe and hazardous nature of the pollution Defendants permitted to escape off-Site,

and by taking actions that deliberately misled Plaintiffs and concealed from them the true

hazards and risks associated with the nature and extent to which Hazardous Substances have

migrated off-Site, the Defendants acted wantonly, willfully, recklessly, and with malice and

oppression.

       163.    As set forth herein, all Plaintiffs residing within a five-mile radius of the Facility

between 1952 and 1982, including Plaintiffs Bowen and Lemons, have alleged that they suffered
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a physical injury or health related problems proximately resulting from their exposure to

Hazardous Substances emitted by Defendants. In the alternative, the Plaintiffs allege that, to the

extent they have not yet suffered any physical injury or health related problems from such

exposure, some or all of Plaintiffs have suffered serious emotional distress proximately resulting

from their significantly increased risk of developing future disease, which in turn resulted from

the Defendants’ negligent and reckless conduct.

                                             COUNT IX

                                       (Medical Monitoring)

       164.    Plaintiffs incorporate herein by reference the allegations set forth in each

Paragraph above as if fully stated herein.

       165.    As set forth herein, Plaintiffs have alleged that they suffered a physical injury or

health related problems proximately resulting from their exposure to Hazardous Substances. In

the alterative, the Plaintiffs allege that, to the extent they have not yet suffered any physical

injury or health related problems from such exposures, the Defendants’ tortious misconduct, as

alleged herein, proximately caused some or all of the Plaintiffs to require medical monitoring

and/or medical surveillance.

       166.    As a proximate result of Defendants’ misconduct as alleged herein, all Plaintiffs

have had long-term, chronic exposure to the Hazardous Substances, which are known to cause

significant and deadly medical conditions. Given this long-term exposure, to the extent that the

Plaintiffs do not already suffer from a physical injury or health related problems resulting from

such exposure, those Plaintiffs are at a significantly increased risk for developing physical

injuries or health related problems in the future.

       167.    The increased risk of disease makes it reasonably necessary for those Plaintiffs to

undergo periodic diagnostic medical examinations different from medical examinations that

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would be medically necessary in the absence of their exposures, and such examinations will

allow for early detection of disease. The Plaintiffs therefore seek such medical assistance by

Order of this Court to be carried out under the supervision of this Court.

       WHEREFORE, the Plaintiffs respectfully request Judgment on their First Amended Class

Action Complaint against Corning Incorporated, Koninklijke Philips, N.V., and Philips

Electronics North America Corporation as follows:

       A.      A trial by jury on all Counts so triable;

       B.      Joint and several liability as to all Defendants;

       C.      The entry of an Order pursuant to Federal Rule 23 permitting this action to be

maintained as a class action, appointing Plaintiffs as the representatives of the Class, and

appointing Plaintiffs’ counsel as counsel for the Class as defined herein.

       D.      The creation of a program for the Plaintiffs for medical monitoring, to be paid for

by Defendants, under Court supervision, to provide medical monitoring services, including but

not limited to, testing, examination, preventative and diagnostic screening for conditions that can

result from or potentially result from exposure to the Hazardous Substances;

       E.      The entry of an Order requiring the Defendants to bear the cost of publication to

the respective Plaintiffs and members of the Class of approved guidelines and procedures for

medical screening and monitoring of Plaintiffs, the content, form and manner of such publication

to be approved by the Court;

       F.      Judgment on Count I joint and severally against all Defendants for both

compensatory and punitive damages for nuisance in an amount to be determined at trial in excess

of the minimum jurisdictional limits of this Court;




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       G.      Judgment on Count II joint and severally against all Defendants for both

compensatory and punitive damages for trespass in an amount to be determined at trial in excess

of the minimum jurisdictional limits of this Court;

       H.      Judgment on Count III joint and severally against all Defendants for both

compensatory and punitive damages for negligence, gross negligence and recklessness in an

amount to be determined at trial in excess of the minimum jurisdictional limits of this Court;

       I.      Judgment on Count IV joint and severally against all Defendants for both

compensatory and punitive damages for strict liability in an amount to be determined at trial in

excess of the minimum jurisdictional limits of this Court;

       J.      Judgment on Count V joint and severally against all Defendants for both

compensatory and punitive damages for battery in an amount to be determined at trial in excess

of the minimum jurisdictional limits of this Court;

       K.      Judgment on Count VI joint and severally against all Defendants for both

compensatory and punitive damages for fraudulent concealment in an amount to be determined

at trial in excess of the minimum jurisdictional limits of this Court;

       L.      Judgment on Count VII joint and severally against all Defendants for

compensatory damages for negligent misrepresentation in an amount to be determined at trial in

excess of the minimum jurisdictional limits of this Court;

       M.      Judgment on Count VIII joint and severally against all Defendants for

compensatory damages for negligent infliction of emotional distress in an amount to be

determined at trial in excess of the minimum jurisdictional limits of this Court;

       N.      Judgment on Count IX joint and severally against all Defendants for medical

monitoring;

       O.      Award the Plaintiffs’ reasonable costs incurred herein;

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       P.      Award Reasonable attorneys’ fees;

       Q.      Award prejudgment and post-judgment interest as provided by law;

       R.      Award compensatory damages;

       S.      Award punitive and exemplary damages; and

       T.      An Order requiring Defendants to promptly and completely remove all Hazardous

Substances from the Plaintiffs’ properties to prevent further migration of such Hazardous

Substances and to preserve portions of the Facility and top soil at or near the Facility for

subsequent testing and analysis on behalf of Plaintiffs herein.

                                                      Respectfully submitted,


                                                       /s/ Richard A. Getty
                                                      RICHARD A. GETTY
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                                                              and
                                                      EVAN M. RICE

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                                                      MODERN HOLDINGS, LLC,
                                                      GREENLEAF PLANT FOOD
                                                      WHOLESALE, INC., BOBBIE LEMONS
                                                      AND GAY BOWEN, On Behalf Of
                                                      Themselves And Others Similarly Situated




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 27th day of February, 2014, the foregoing First Amended
Class Action Complaint was served electronically through this Court’s CM/ECF system and by
mail, postage pre-paid upon the following:

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and

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                                                    /s/ Richard A. Getty
                                                    COUNSEL FOR PLAINTIFFS

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